AO 468 (Rev. 0l/09) Waiver of a Preliminary Hearing
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                                              UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF TEXAS
                                                     DALLAS DIVISION

           UNITED STATES OF AMERICA                                   $
                                                                      $
                                                                      $     Case   No. 3:19-mj-01015-BT
                                                                      $
           DAVrD CADENA (l)                                           $


                                           WAIVER OF PRELIMINARY HEARING

        I understand that I have been charged with an offense in a criminal complaint filed in this court, or charged
with violating the terms of probation or supervised release in a petition filed in this court. A magistrate judge has
informed me of my right to a preliminary hearing under Fed. R. Crim. P. 5, or to a preliminary hearing under Fed.
R. Crim. P.32.L

         I agree to waive my right to a preliminary hearing under Fed. R. Crim. P. 5 or Fed. R. Crim. P.32.1.


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                                              Printed name and bar number ofdefendant's attorney




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